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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                     PENSACOLA DIVISION
IN RE: 3M COMBAT ARMS                CASE NO.: 3:19-MD-2885-MCR-GRJ
EARPLUG LITIGATION
LIABILITY LITIGATION
                                       Judge M. Casey Rodgers
This Document Relates to:              Magistrate Judge Gary Jones
 All Cases




 DEFENDANTS’ MOTION TO REQUIRE PAYMENT OF FILING FEES
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                                  INTRODUCTION

      For more than eighteen months, plaintiffs’ attorneys in this MDL proceeding

were permitted to file un-vetted claims at no cost on an administrative docket.

Unlike other cases filed in federal courts, no filing fees were required, no pro hac

vice fees, no service of process, no vetting of claims. All that was required to start

a federal action in this MDL proceeding was a form complaint that named the

plaintiff and identified alleged injuries from a list of options.

      With all meaningful and customary barriers to filing a lawsuit removed, this

MDL quickly became the largest in history. Plaintiffs’ lawyers no longer needed to

determine whether an individual case had merit before filing a complaint. They

continually inflated the number of claims through expansive advertising, spending

more than $25 million to collect what plaintiffs’ counsel themselves described as

yet-to-be-vetted cases.

      Before the creation of a separate administrative docket, which excused the

filing fee and other basic requirements for initiating a case, there were 2,700 filed

cases pending in this MDL proceeding. MDL. Dkt. 840 (11/22/2019 Hr’g Tr. at 4.

Following the elimination of basic case-initiation requirements and the associated

procedural protections for defendants, there were more than 265,000 actions filed on

the administrative docket without being required to pay any filing fee. Indeed, this

MDL proceeding has become so large that for the last two years, in his annual report
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on the federal judiciary, Chief Justice Roberts has singled out the “unusually large

number of filings” associated with this MDL and has reported two separate sets of

data detailing the annual number of civil filings in the U.S.—one set that includes

this MDL, and one that does not. E.g., Ex. 1 (Chief Justice Roberts, 2021 Year-End

Report on the Federal Judiciary) at 8. Of the over 280,000 Earplug MDL filings

(for 2020/2021) discussed in Chief Justice Roberts’ reports, fewer than 15,000 had

paid a filing fee or complied with other basic requirements for initiating an action.

      Moreover, many filings on the administrative docket are listed as pro se filings

even though most of the claimants are not pro se and, instead, are represented by

counsel. As a result, the Northern District of Florida accounted for more than 73%

of all of the pro se filings in the country for the 12-month period ending in September

2020 (with 197,118 pro se filings) and for more than 56% of all civil pro se filings

in the country for the 12-month period ending in September 2021 (with 82,301 pro

se filings)—even including prisoner petitions. See Ex. 2 (U.S. District Courts—

Civil Pro Se and Non-Pro Se Filings—During the 12-Month Periods Ending

September 30, 2020, available at https://www.uscourts.gov/statistics/table/c-

13/judicial-business/2020/09/30), see Ex. 3 (U.S. District Courts—Civil Pro Se and

Non-Pro Se Filings—During the 12-Month Periods Ending September 30, 2021,

available         at          https://www.uscourts.gov/statistics/table/c-13/judicial-

business/2021/09/30).


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      The Court has recently begun to dismantle the administrative docket and is

taking other steps towards initial vetting of claims. In particular, the Court has

started requiring that plaintiffs’ counsel transition cases from the administrative

docket and pay filing fees. But under the schedule set forth by the Court, 180,000

plaintiffs do not yet have a deadline to pay filing fees and more than 9,000 plaintiffs

have been allowed several months to pay filing fees. Even if the Court identifies

25,000 plaintiffs to transition their cases per month, it will take almost a year to

complete the transfer of so many cases at the current pace.

      There is no reason to further delay the payment of filing fees, which should

have been required from the very beginning. Federal law is clear that the clerk of

the district court “shall require … a filing fee of $350” whenever any party

“institute[s] any civil action, suit or proceeding.” 28 U.S.C. § 1914 (emphases

added). Under, 28 U.S.C. § 1914(c), “[e]ach district court by rule or standing order

may require advance payment of fees.” Here, the Local Rules of the United States

District Court for the Northern District of Florida require that “a party who files or

removes a civil case must simultaneously either pay any fee required under 28

U.S.C. § 1914 or move for leave to proceed in forma pauperis under 28 U.S.C. §

1915.” N.D. Fla. Loc. R. 5.3; see also http://www.flnd.uscourts.gov/fee-schedule

(requiring filing fee of $402 for a civil case). Those filing fees act as a barrier to the

filing of frivolous suits, and also raise much-needed revenue for the federal


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government, including for the court system. Requiring filing fees from the hundreds

of thousands of plaintiffs who have brought cases at no cost will thus benefit the

federal judicial system by providing millions of dollars of revenue, and protect the

court system and defendants from frivolous claims by helping to winnow out those

that lack merit.

                                  BACKGROUND

      As of November 2019, there were approximately 2,700 filed cases pending in

this MDL proceeding. MDL Dkt. 840 (11/22/2019 Hr’g Tr.) at 4.1 On December 6,

2019, the Court created an administrative docket and stated that “[a]ll cases placed

on the inactive administrative docket will be subject to the jurisdiction of the Court.”

MDL Dkt. 864 (Pretrial Order No. 20) at 2. In that and related orders, the Court

ordered that all claimants on the administrative docket would get the benefit of

certain Court orders and resources, including the Court’s protective order and its

Privacy Act orders authorizing federal agencies to disclose confidential information.

MDL Dkt. 864 (Pretrial Order No. 20) ¶ 2; In re 3M Administrative Docket, Order




1
 See also Ex. 4 (November 19, 2019 MDL Statistics Report - Distribution of
Pending MDL Dockets by Actions Pending, U.S. Judicial Panel on Multidistrict
Litigation, available at
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDLs_by_Actions_Pendi
ng-November-19-2019.pdf).


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No. 1 ¶¶ 2-3 (Admin. Dkt. 3).2 And while the Court required all plaintiffs on the

administrative docket to submit short-form complaints via MDL Centrality, see

MDL Dkt. 864 (Pretrial Order No. 20) ¶ 3; Admin. Dkt. 3 ¶ 4, the Court determined

that several of the other basic requirements for initiating a case in federal court would

not apply to the administrative docket. The Court’s order provided that “[n]o filing

fee is required while a case remains on the inactive administrative docket,” that a

plaintiff on the administrative docket should not serve his short-form complaint on

the defendants, and that attorneys need not seek admission pro hac vice (and pay the

requisite fee) to represent a plaintiff on the administrative docket. MDL Dkt. 864

(Pretrial Order No. 20) ¶ 4; Admin. Dkt. 3 ¶ 5.

      Before any cases were placed on the administrative docket, Plaintiffs’ counsel

described such unfiled cases as “yet-to-be vetted cases.” MDL Dkt. 469 (6/17/2019




2
  See also In re 3M Administrative Docket, Order No. 1 ¶ 2 (Admin. Dkt. 3.) (“A
primary purpose of the 3M MDL administrative docket is to enable the Court to
facilitate an efficient process by which the parties may submit Touhy requests to the
Department of Defense and the Department of Veterans Affairs for confidential
information related to the previously unfiled claims. The 3M MDL administrative
docket is also designed to ensure that MDL resources—including the electronic
litigation support apparatus put in place by the Court and paid for, in part, by
Defendants and Plaintiffs’ Common Benefit Fund—are used only for the benefit of
plaintiffs who are actually part of the 3M MDL and can be the subject of a Touhy
request.”).


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CMC Hr’g Tr.) at 18-19.3        Plaintiffs’ counsel further described cases on the

administrative docket, such as the Garcia bellwether case, as cases that likely would

never have been filed on a regular docket.4 The Garcia bellwether case, which

plaintiff’s counsel voluntarily dismissed shortly after discovery began, is exemplary.

Plaintiffs’ counsel explained that cases such as Garcia (and the Burgus case, which

plaintiffs’ counsel described as “similar”) were on the administrative docket not

because a decision had been made as to the viability or merits of the cases, but in

order to obtain Touhy records so that yet-to-be-vetted cases could be vetted.5 The

lack of vetting, or even the most basic analysis, of claims on the administrative


3
  See also MDL Dkt. 1027 (3/4/2020 Hr’g Tr.) at 66:16-67:7 (plaintiffs’ counsel
discussing production requirements for certain cases on the administrative docket
and noting that “[t]hese cases, the vast majority of which are on the administrative
docket, are being investigated still by the Plaintiffs.”).
4
  Plaintiff’s Resp. to Order to Show Cause at 7 (Garcia, Case No. 20-cv-072, Dkt.
14 (“Were it not for the unique situation this litigation has found itself in with
respect to Touhy records and the need for cases to be filed on the administrative
docket in order to obtain these records, Mr. Garcia’s case would likely still be
unfiled.”).
5
 Id. (“Additionally, while a complaint was ultimately filed on his behalf, it was filed
on the administrative docket as ordered by Pretrial Order No. 22, so that his attorneys
could obtain his Touhy records (medical and military) and further evaluate his
case.”); see also MDL Dkt. 1225 (7/6/2020 Hrg. Tr.) at 14 (plaintiffs’ counsel
describing Lonnie Burgus’ case as similar to Sigifredo Garcia’s case, “including the
fact that, although his case was filed, it was initially filed on the administrative
docket”).


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docket is illustrated by the inclusion of 11,000 active claims involving plaintiffs who

filed more than one case.

      At or around the same time the filing fee, service, and pro hac vice

requirements for these cases were eliminated, another critical feature of MDL

litigation was suspended: the plaintiff information fact sheet or initial census forms.

Plaintiff fact sheets (or, in this case, initial census forms) are standard in large MDLs

like this one. See Ex. 5 (Guidelines & Best Practices For Large & Mass-Tort MDLs,

Bolch Jud. Instit., Duke Law School (2d ed. Sept. 2018) (“Duke MDL Guidelines”))

at 10 (“BEST PRACTICE 1C(v)” “plaintiff and defendant fact sheets, which can

provide information useful for case management…. Fact sheets also help to uncover

cases that should not have been centralized in the first instance.”); id. (“Fact sheets

are one of the most useful and efficient initial mechanisms for obtaining individual

discovery in large mass-tort MDLs.”). This further led to the proliferation of un-

vetted claims as the barriers to entry became practically nonexistent.

      Consistent with MDL practice, the Court initially ordered that “[e]ach

Plaintiff must complete and serve on Defendants through MDL Centrality answers

to the Initial Census Questions.” See MDL Dkt. 775 (Pretrial Order No. 18) at 2. As

is required in other MDL proceedings, the Court ordered on October 22, 2019, that

plaintiffs provide responses to a series of questions regarding product use and injury

claims and that they swear to the accuracy of those claims under penalty of perjury.


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Id. at 1-3. The Court also required plaintiffs to produce certain personnel and medical

records so that their claims could be assessed. Id. at 3-6. But that requirement was

short-lived; just a month later, obligations on plaintiffs in the active docket to

provide information about their claims and to produce records were suspended.

MDL Dkt. 836 (CMO 6).

      In suspending initial discovery (census) information deadlines, the Court cited

“the difficulty in obtaining records from the military.” MDL Dkt. 840 (11/22/2019

Hr’g Tr.) at 4:18-19; MDL Dkt. 836 (CMO 6). The fact that a case involves military

records, however, does not excuse plaintiffs’ discovery obligations, nor does it

prevent plaintiffs from answering basic questions related to their claims such as

whether and when they allegedly used the CAEv2 or what injuries they allegedly

experienced. Furthermore, the Department of Justice has stated that various records

sought by Plaintiffs are already available to them through military and veteran

websites and other sources. Ex. 6 (Kolsky Letter) at 2. The Department of Justice

urged plaintiffs to use these resources. Id. In addition, using standard forms from

the DOD or VA (including forms beyond those cited by the Department of Justice),

veterans and soldiers can request free copies of medical records and personnel files




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themselves.6 The Court recently required all plaintiffs who have not submitted a DD

214 to produce either a DD 214 or a DoD Military Service Information Report

produced by the VA Blue Button (colloquially, the “Blue Button Report”), which is

available through MyHealtheVet, to establish their military service. MDL. Dkt.

2911 (CMO 40) at 2.

       Indeed, for almost two years most plaintiffs were not required to provide any

records or essential information about their claims. Initial census form obligations

remained suspended until July 2021. MDL Dkt. 1848 (Pretrial Order No. 81) at 1.

Even when initial census form obligations were reinstated, the previous requirement

that the initial census questions be answered under penalty of perjury was

eliminated. Id. at 2.7 And the Court also did not require claimants to provide copies

of any documents or medical records they might have available to support their

claims.8


6
 The fact that production of records by the DoD and VA is necessary to fully defend
and analyze the claims in this litigation does not excuse plaintiffs from obtaining and
producing the subset of records that are available to them directly.
7
 See also Ex. 5 (Guidelines & Best Practices For Large & Mass-Tort MDLs, Bolch
Jud. Instit., Duke Law School (2d ed. Sept. 2018)) at 10 (to serve their intended
purpose, fact sheets “should be deemed a form of discovery governed by the relevant
Federal Rules of Civil Procedure, requiring the same level of completeness and
verification”).
8
 See Ex. 5 (Guidelines & Best Practices for Large & Mass-Tort MDLs, Bolch Jud.
Instit., Duke Law School (2d ed. Sept. 2018)) at 11 (“[R]equiring the collection of

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       As a result of the suspension of initial discovery (census) document and

information obligations, there is an extremely small volume of records and little

reliable data available to determine whether any particular plaintiff ever used the

CAEv2 or has suffered any injury, let alone an injury that could even theoretically

be attributed to the CAEv2. For the initial cases where information has been

discovered, there have been numerous dismissals and 3M trial victories. Of the 27

bellwether plaintiffs, eight were dismissed and five resulted in trial victories in favor

of 3M—meaning 13 out of 27 bellwether plaintiffs were dismissed, with three cases

not yet fully tried.9 And among the plaintiffs who are part of the first “wave” ordered

by the Court—the early tranche of cases in which incentives to remain in the




plaintiffs’ medical records (in personal injury cases) or employment histories (in
employment cases) is another straightforward way that a transferee judge can
encourage a robust exchange of key information at a relatively early stage. This
information can help defendants verify the answers provided in the fact sheets and
can shed light on the potential causes of the plaintiffs’ injuries.”); see also MDL Dkt.
2911 (CMO 40) (recently requiring production of DD 214 or Military Service
Information Report).
9
 See Burgus (Case No. 7:20-cv-007) Dkt. 11; Garcia (Case No. 7:20-cv-072) Dkt.
16; Hensley (Case No. 7:20-cv-093) Dkt. 59; King (Case No. 7:20-cv-132) Dkt. 21;
Lopez (Case No. 7:20-cv-060) Dkt. 24; McNeal (Case No. 7:20-cv-066) Dkt. 24;
Rowe (Case No. 7:20-cv-026) Dkt. 30; Taylor (Case No. 7:20-cv-071) Dkt. 24; Blum
(Case No. 7:20-cv-122) Dkt. 119; McCombs (Case No. 7:20-cv-094) Dkt. 157;
Montero (Case No. 20-cv-067) Dkt. 132; Palanki (Case No. 3:19-cv-2324) Dkt. 135;
Stelling (Case No. 20-cv-143) Dkt. 176.


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litigation are at their highest—so far 96 plaintiffs were either dismissed, removed

from the first wave, or had their cases stayed for various reasons, including because

people on whose behalf plaintiffs’ counsel filed cases could not be contacted. Even

with respect to wave discovery, document production is incomplete for a significant

number of plaintiffs. Yet currently available records already indicate a substantial

number of plaintiffs who had military noise exposure without any hearing

protection; plaintiffs with conductive hearing loss which is not caused by noise;

injuries alleged to have occurred before CAEv2 use; and other alternate causes of

alleged injuries.

      The combination of these orders allowed plaintiffs’ attorneys to initiate an

action in federal court without any meaningful obligations or the ordinary procedural

protections for defendants:     no filing fees, no service costs, no pro hac vice

applications or fees, minimal or no vetting, no need to prepare a detailed complaint

that could support a claim to relief, no obligation to provide an initial discovery

disclosure, and not even an obligation to disclose when or where the plaintiff alleges

to have used the product at issue in this litigation. Instead, plaintiffs’ attorneys were

simply required to put their clients’ names on short-form complaints and tick a few

boxes identifying the defendants, claims asserted, and alleged injuries (none of

which vary substantially from case to case). With barriers to entry practically

nonexistent, case numbers exploded.             Encouraged by massive advertising


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expenditures by plaintiffs’ attorneys, who could now bring a case at no cost, tens of

thousands of plaintiffs filed complaints on the administrative docket. More than

265,000 Plaintiffs have filed individual claims on the administrative docket, making

this the largest MDL in history. Indeed, data provided by the Judicial Panel on

Multidistrict Litigation shows that, as of March 16, 2022, this MDL had more than

twice as many claims as the other 182 pending MDLs combined.10

        On August 20, 2021, the Court ordered 1,358 of the more than 250,000 then-

remaining cases on the administrative docket to transfer to the MDL docket, only

then triggering the responsibility to pay a filing fee. MDL Dkt. 1876 at 1-2, 4. On

September 3, 2021, the Court ordered an additional 24,393 cases to be transitioned

to the MDL docket. MDL Dkt. 1915 at 2-3. On January 31, 2022, the Court ordered

the transition of 23,744 cases by April 1, 2022 (MDL Dkt. 2652 (Transition Order

#3) at 1), and on March 1, 2022, the Court ordered the transition of 23,016 cases by

May 2, 2022. MDL Dkt. 2825 (Transition Order #4) at 1. The deadline for

transitioning cases from the administrative docket had passed for 58,775 of the




10
  See Ex. 7 (March 16, 2022 MDL Statistics Report - Distribution of Pending
MDL Dockets by Actions Pending, U.S. Judicial Panel on Multidistrict Litigation,
available at
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_
By_Actions_Pending-March-16-2022.pdf).


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plaintiffs on the administrative docket. But there are still more than 180,000 cases

on the administrative docket with no filing fee yet required.

                                     ARGUMENT

       The waiver of an initial filing fee and other basic requirements for initiating a

case cannot be reconciled with statutory filing requirements and has dramatically

inflated the size of this MDL by permitting tens of thousands of un-vetted claims to

be filed in federal court at no cost to plaintiffs or their attorneys.

       Waiver of the filing fees and other basic requirements never served a

necessary purpose in this MDL. Even assuming arguendo it were necessary to create

an “administrative docket” to obtain records from the DOD and VA, nothing about

that purported need justifies excusing filing fees and other basic requirements and

procedural protections.     Indeed, as discussed below, federal law requires the

payment of a filing fee for any “civil action, suit or proceeding.” 28 U.S.C.

§ 1914(a). There is no “administrative docket exception” to that statute.

       Although the Court is now correctly dismantling the administrative docket,

given the enormous size of the docket and all the demands on the clerk’s office, it

will understandably take time to transfer all cases to the active docket. There is no

reason, however, for any delay in requiring all plaintiffs on the administrative docket

to pay filing fees, which should have been collected as soon as complaints were filed.

The statutorily mandated fees are already months or years overdue. The fees will


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also have two significant benefits: providing the federal courts with revenue to

defray the costs of this enormous litigation, and finally forcing plaintiffs’ attorneys

to vet their cases.

        A.    The Statute Unambiguously Requires the Clerk to Assess a Filing
              Fee for Each Complaint Filed in This MDL.

        There can be no serious question that Congress has required the clerk to assess

a filing fee for each complaint filed in this MDL. 28 U.S.C. § 1914 requires the

payment of a filing fee for “any civil action, suit or proceeding” that a party

“institut[es]” in district court, “whether by original process, removal or otherwise.”

28 U.S.C. § 1914(a) (emphases added).11 As the Supreme Court has repeatedly held,

“the word ‘any’ has an expansive meaning, that is, ‘one or some indiscriminately of

whatever kind.’” Gonzales, 520 U.S. 1, 5 (1997) (citation omitted). Thus, there is

no limitation or qualification on the type of civil action or proceeding subject to the

imposition of the filing fee. The phrase “or otherwise” is similarly broad and places

no limitation on the means by which the action or proceeding is instituted in district

court. See Gravitt v. Sw. Bell Tel. Co., 430 U.S. 723, 723-24 (1977) (giving

expansive reading to phrase “or otherwise” in 28 U.S.C. § 1447(d)); Bowles v.



11
   Local Rule 5.3 provides that “[a] party who files or removes a civil case must
simultaneously either pay any fee required under 28 U.S.C. § 1914 or move for leave
to proceed in forma pauperis under 28 U.S.C. § 1915.” N.D. Fla. Loc. R. 5.3; see
http://www.flnd.uscourts.gov/fee-schedule (requiring $402 filing fee for civil case).


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Hayes, 155 F.2d 351, 354 (3d Cir. 1946) (giving unrestricted meaning to “or

otherwise” in Price Control Act); see also In re Diet Drugs, 325 F. Supp. 2d 540,

542 (E.D. Pa. 2004) (“By including the words proceeding and otherwise, Congress

has given the statute a very broad reach.” (emphasis in original)).

      There are few exemptions from the filing fee required under § 1914(a) and the

Local Rules, none of which applies here. The first is in the statutory provision itself:

the fee for an application for a writ of habeas corpus is $5. 28 U.S.C. § 1914(a).

Further, the filing fee may be waived in whole or in part for a person who obtains in

forma pauperis status. Id. § 1915(a)(1); see also N.D. Fla. Loc. R. 5.3 (discussing

motions for leave to proceed in forma pauperis). Seamen may also institute certain

types of suits “without prepaying fees or costs or furnishing security therefor.” 28

U.S.C. § 1916. Finally, the United States government and its agencies are exempt

from paying filing fees. See 28 U.S.C. § 2412(a)(2); H.R. Rep. No. 102-1006, at 22

(1992), reprinted in 1992 U.S.C.C.A.N. 3921, 3931.

      There is no exemption or fee waiver for claims filed in the context of

multidistrict litigation or filed on any administrative docket. In the absence of any

such statutory exemption, Congress has made clear that the Clerk “shall require”

payment of the fee. 28 U.S.C. § 1914(a). See, e.g., McCune v. United States, 406

F.2d 417, 419 (6th Cir. 1969) (motion to vacate sentence under 28 U.S.C. § 2255 is

“a civil action” for which “clerk has no choice but to charge … filing fee” required


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by § 1914(a)); Malibu Media, LLC v. Does 1-28, 295 F.R.D. 527, 534 (M.D. Fla.

2012) (holding that § 1914(a) “requires each party instituting a civil action to pay a

filing fee”) (emphasis added); see also Murphy v. Smith, 138 S. Ct. 784, 787 (2018)

(“[T]he mandatory ‘shall’ … normally creates an obligation impervious to judicial

discretion.”) (quoting Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523

U.S. 26, 35 (1998)). Other MDL courts thus adhere to the plain text of § 1914(a)

and require the payment of the filing fee at the time a complaint is filed. See In re

Diet Drugs, 325 F. Supp. 2d at 542 (“The filing of a separate complaint constitutes

the institution of a civil action or proceeding—if not by original process or removal,

then otherwise.”) (emphasis in original). The Duke MDL guidelines also advise that

filing fees should always be collected from plaintiffs who join an MDL. See Ex. 3

at 22 & n.81 (observing that an order permitting direct filing “should not alter filing-

fee requirements”).

      A complaint filed in an MDL—even if it is just a “short form” complaint—

commences a “civil action, suit or proceeding.” Fed. R. Civ. P. 3 (“A civil action is

commenced by filing a complaint with the court.”). Such an action is “institut[ed]”

in district court either “by original process” (because it is the first complaint by that

single plaintiff), or “otherwise” (because, for example, it was transferred to the MDL

court). The complaints filed on the administrative docket therefore fit comfortably




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within the wide reach of § 1914(a) and are subject to the filing fee requirement. See

28 U.S.C. § 1914(a).

      B.     The Lack of a Filing Fee for Cases Filed on the Administrative
             Docket Nullifies the Salutary Purposes of 28 U.S.C. § 1914.
      Requiring the filing fee in this litigation is not only statutorily mandated, but

would advance the “two salutary purposes” of § 1914. The first purpose is to serve

as “a revenue raising measure.” In re Diet Drugs, 325 F. Supp. 2d 540 at 541. The

filing fees are deposited with the Treasury, with $190 of each fee assigned to a

special fund “to be available to offset funds appropriated for the operation and

maintenance of the courts of the United States.” 28 U.S.C. § 1931(a). The second

purpose is to “act[] as a threshold barrier, albeit a modest one, against the filing of

frivolous or otherwise meritless lawsuits.” In re Diet Drugs, 325 F. Supp. 2d at 541.

Neither of these goals is achieved when filing fees are not required for complaints

filed on the administrative docket.

             1.     Congress Expects Filing Fees to Provide Essential Funding
                    for the Federal Court System.

      Filing fees are an important, and much needed, source of revenue for the

federal court system. See Malibu Media, LLC, 295 F.R.D. 527 at 534 (section

1914(a) “generates much needed revenue to offset the administrative cost of federal

litigation”). Under 28 U.S.C. § 1931(a), $190 of each filing fee is deposited into “a

special fund of the Treasury to be available to offset funds appropriated for the



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operation and maintenance of the courts of the United States.”12 Thus, the Senate

Report accompanying the Federal Courts Improvement Act of 1996 described the

fee as an “initial ‘user fee’ for all litigants not proceeding in forma pauperis.” S.

Rep. No. 104-366, at 38 (1996), reprinted in 1996 U.S.C.C.A.N. 4202, 4218

(emphasis added).

        Indeed, the importance of the revenue generated from the fee was emphasized

when Congress enacted section 301 of the Federal Courts Administration Act of

1992, Pub. L. No. 102-572, 106 Stat. 4506, 4511. That provision amended 28

U.S.C. § 2412(a) by adding the following subparagraph (2):

        A judgment for costs, when awarded in favor of the United States in an
        action brought by the United States, may include an amount equal to
        the filing fee prescribed under section 1914(a) of this title. The
        preceding sentence shall not be construed as requiring the United States
        to pay any filing fee.

106 Stat. 4511. As the legislative history of that provision explains, because the

United States is exempt from paying filing fees in civil actions, “the cost to the court

of adjudicating meritorious civil actions brought by the United States [could not] be



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  In addition to the $350 fee expressly mentioned in 28 U.S.C. § 1914(a), the District
Court Administrative Fee Schedule, “issued in accordance with 28 U.S.C. § 1914,”
provides for “administrative fee for filing a civil action, suit, or proceeding in a
district court, $52.” United States Courts, District Court Miscellaneous Fee
Schedule, available at https://www.uscourts.gov/services-forms/fees/district-court-
miscellaneous-fee-schedule.


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defrayed to the extent of the filing fee.” H.R. Rep. No. 102-1006, at 22, reprinted

in 1992 U.S.C.C.A.N. at 3931.        The amendment corrected that situation “by

permitting prevailing United States plaintiffs to recover the amount of the filing fee,

which is then made available to the judiciary.” Id.; see 28 U.S.C. § 1931(a) ($190

of each amount paid to United States as part of a judgment for costs under 28 U.S.C.

§ 2412(a)(2) is deposited into special Treasury fund for the federal courts).

      In this MDL, as of March 23, 2022, more than 200,000 individual plaintiffs

remained on the administrative docket and had availed themselves of the benefits of

rulings by this Court, all while depriving the court system of more than $80 million

in fees. 28 U.S.C. § 1931(a); see, e.g., In re Diet Drugs, 325 F. Supp. 2d at 542

(without the payment of filing fees in MDL action, “the federal fisc and more

particularly the federal courts are being wrongfully deprived of their due”); In re

Gen. Motors LLC Ignition Switch Litig., No. 14-MD-2543 (JMF), 2019 WL

13139424, at *1 (S.D.N.Y. May 22, 2019); Schwartz v. Maxim Healthcare Servs.,

Inc., No. CIV. JFM-15-1508, 2015 WL 4920299, at *1 (D. Md. Aug. 14, 2015)

(“Filing fees help defray, however modestly, the expense to the court (and ultimately

to the public) in litigation ….”); In re Asbestos Prods. Liab. Litig. (No. VI), No. CIV.

A. 2 MDL 875, 1996 WL 239863, at *5 n.12 (E.D. Pa. May 2, 1996) (requiring

payment of fees in more than 17,000 maritime asbestos cases because “the costs

applicable to these filings are great and the burden and cost to the court system has


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been considerable”); In re Seroquel Prods. Liab. Litig., No. 606MD-1769-ORL-

22DAB, 2007 WL 737589, at *3 (M.D. Fla. Mar. 7, 2007) (filing fees help defray

“the cost of managing” large numbers of “cases in the federal court system as a

whole, both as part of [a] multi-district case and once remanded to the transferor or

other proper court, as individual cases”).

             2.    Congress Intended Filing Fees to Constitute a “Threshold
                   Barrier” to Frivolous Lawsuits.

      Filing fees, though modest, also provide a “gatekeeping” function to ensure

non-meritorious claims do not burden the judicial system or defendants or, by their

numerical presence, make settlement more difficult. See In re Seroquel Prods. Liab.

Litig., No. 6:06-md-1769, 2007 WL 737589, at *3; In re Gen. Motors, No. 14-md-

2543, 2019 WL 13139424, at *1–2 (collecting authorities). Stated another way,

“[f]iling fees … constitute a ‘threshold barrier’ to frivolous law suits.” Schwartz,

2015 WL 4920299, at *1; see also In re McDonald, 489 U.S. 180, 184 (1989) (noting

that filing fees help discourage frivolous lawsuits and allocate judicial resources to

more meritorious cases). Courts have long recognized the reality that litigation costs

are “borne not only by the plaintiff but by the defendant, by the taxpayer, and by

parties to other lawsuits in the same court, whose cases may be delayed or who may

receive less attention from the judges than if the caseload were lighter.” Lumbert v.

Illinois Dep’t of Corr., 827 F.2d 257, 259 (7th Cir. 1987). The filing-fee requirement

incentivizes “the putative plaintiff to think about the case and not just file

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reflexively”—in other words, “having to make even a modest monetary outlay may

help focus his thinking.” Id.

      Plaintiffs’ lawyers in MDLs historically sought to avoid paying filing fees by

misjoining claims, so that multiple plaintiffs could join in one complaint and pay

only one filing fee. This posed a problem of judicial administration because, “[b]y

misjoining claims, a lawyer or party need not balance the payment of the filing fee

against the merits of the claim or claims.” In re Diet Drugs, 325 F. Supp. 2d at 542.

Courts have uniformly rejected these efforts because § 1914(a) does not “bestow a

free ride on misjoined or misjoining plaintiffs.” Id.; see also, e.g., In re Asbestos

Prods. Liab. Litig., No. CIV A 08-CV-61183, 2008 WL 4290954, at *1-*2 (E.D. Pa.

Sept. 18, 2008) (requiring amended and severed complaint and payment of filing fee

within 60 days on pain of dismissal with prejudice); In re Gen. Motors, 2019 WL

13139424, at *2 (requiring amended and severed complaint and payment of filing

fee within 90 days of order). Many of the same concerns that motivated courts to

prohibit misjoinder support requiring payment of the filing fees here.

                                 CONCLUSION

      For the foregoing reasons, the Court should require that within 30 days all

Plaintiffs on the administrative docket pay the $402 filing fee mandated by 28 U.S.C.

§ 1914(a) and Local Rule 5.3.




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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

     Pursuant to Local Rule 7.1(F), counsel for Defendants certify that this

memorandum contains 5,342 words.



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                      CERTIFICATE OF CONFERENCE

      I hereby certify that on April 5, 2022, Defendants’ counsel conferred with

Plaintiffs’ counsel on this issue pursuant to the Court’s Local Rule 7.1(B).


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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY this 5th day of April 2022, a true and correct copy of

the foregoing was electronically filed via the Court’s CM/ECF system, which will

automatically serve notice of this filing via e-mail to all registered counsel of record.



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